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   Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 1 of 28 PageID: 1




                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                      Hon. Mark Falk

       v.                            :        Magistrate No. 19-3676

JONATHAN L. XIE                               CRIMINAL COMPLAINT


      I, the undersigned complainant, being duly sworn, state the following is
true and correct to the best of my knowledge and belief.

                             SEE ATtACHMENT A

      I further state that I am a Special Agent of the Federal Bureau of
Investigation, and that this complaint is based on the following facts:

                             SEE ATTACHMENT B

continued on the attached pages and made a part hereof.

                          L      PU
                         Brian Manley
                         Special Agent
                         Federal Bureau of Investigation

Sworn to af d s,bscribed in my presence,

            iW/1 9                       at   Newark, New Jersey
Date
       /7       ‘                             Cjat



Urfited States Masfrate Judge
Name and Title of Judicial Officer            &tre of Judicial Officer
  Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 2 of 28 PageID: 2



                                AflACHMENT A

                                    Count 1

           (Attempt to Provide Material Support and Resources to a
                 Designated Foreign Terrorist Organization)

      On or about December 20, 2018, in the District of New Jersey and
elsewhere, defendant

                                JONATHAN )UE

knowingly attempted to provide material support and resources, as defined in
Title 18, United States Code, Section 2339A(b), including money, to a foreign
terrorist organization, namely Harakat al-Muqawamah al-Islamiyya and the
Islamic Resistance Movement (HAMAS), knowing that the organization was a
designated terrorist organization, and that the organization had engaged and
was engaging in terrorist activity and terrorism.

      In violation of Title 18, United States Code, Sections 23393(a)(1) and 2.
  Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 3 of 28 PageID: 3




                                     Count 2

           (Attempt to Provide Material Support and Resources to a
                 Designated Foreign Terrorist Organization)

     On or about April 26, 2019, in the District of New Jersey and elsewhere,
defendant

                                JONATHAN XIE

knowingly attempted to provide material support and resources, as defined in
Title 18, United States Code, Section 2339A(b), including money, to a foreign
terrorist organization, namely Harakat al-Muqawamah al-Islamiyya and the
Islamic Resistance Movement (HAMAS), knowing that the organization was a
designated terrorist organization, and that the organization had engaged and
was engaging in terrorist activity and terrorism.

      In violation of Title 18, United States Code, Sections 23393(a)(1I and 2.
  Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 4 of 28 PageID: 4




                                    Count 3

                                (False Statement)

      On or about February 14, 2019, in the District of New Jersey and
elsewhere, defendant

                                JONATHAN XIE

knowingly and willfully made a false, fictitious, and fraudulent statement and
representation, in a matter within the jurisdiction of the executive branch of
the Government of the United States, namely the United States Army of the
United States Department of Defense.

      In violation of Title 18, United States Code, Sections 1001(a)(2) and 2.
  Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 5 of 28 PageID: 5




                                    Count 4

                                (False Statement)

      On or about February 27, 2019, in the District of New Jersey and
elsewhere, defendant

                                JONATHAN XIE

knowingly and willfully made a false, fictitious, and fraudulent statement and
representation, in a matter within the jurisdiction of the executive branch of
the Government of the United States, namely the United States Army of the
United States Department of Defense.

      In violation of Title 18, United States Code, Sections 1001(a)(2) and 2.
  Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 6 of 28 PageID: 6




                                   COUNT 5

                 (Transmitting Threat in Interstate Commerce)

      On or about April 13, 2019, in the District of New Jersey and elsewhere,
defendant

                                JONATHAN XIE

knowingly and willfully transmitted in interstate commerce, specifically via the
social networking internet website, Instagram, communications containing a
threat to injure the persons of another.

      In violation of Tile 18, United States Code, Sections 875(c) and 2.
  Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 7 of 28 PageID: 7



                                ATPACHMENT B

       I, Brian Manley, am a Special Agent with the Federal Bureau of
Investigation (“FBI”), and have served in this capacity since January 2017. I
was previously employed by the FBI as an Intelligence Analyst for
approximately nine years. My experience has included the investigation of
cases involving the use of cell phones, computers and the Internet to commit
terrorism-related offenses. I have received training and have gained experience
in interview and interrogation techniques, arrest procedures, obtaining
electronically-stored information through criminal process, search warrant
applications, and the execution of searches and seizures. I have also received
training and information, and gained experience concerning terrorism crimes,
as well as the tactics, techniques, and procedures used by terrorism suspects
to evade detection. I am fully familiar of the facts set forth herein based upon
briefings with other law enforcement officers. Because this complaint is being
submitted for the limited purpose of establishing probable cause, I have not
included each and every fact known to me concerning this investigation. I have
only set forth facts that I believe are necessary to establish probable cause.
Unless specifically indicated, all conversations and statements described in
this affidavit are related in substance and in part. Dates of events are asserted
as having occurred on or about the asserted date.

       1.    MAMAS, also known as Harakat al-Muqawamah al-Islamiyya and
the Islamic Resistance Movement, among other names, was established in
1987 at the onset of the first Palestinian uprising, or intifada, as an outgrowth
of the Palestinian branch of the Muslim Brotherhood. One faction of HAMAS,
the Izz al-Din al-Qassam Brigades, has conducted anti-Israel attacks, including
suicide bombings against civilian targets inside Israel. United States citizens
have died and been injured in the group’s attacks.

      2.    On October 8, 1997, by publication in the Federal Register, the
United States Secretary of State designated HAMAS as a Foreign Terrorist
Organization pursuant to Section 219 of the Immigration and Nationality Act
(INN’).

       3.    In or about January 2019, the FBI received information from an
individual (Individual #1) who interacts online with Defendant Jonathan Xie
regarding possible threats that Individual #1 observed in an online group chat.
Individual #1 stated that an individual identified as “Jon” wanted to harm pro-
Israel supporters. According to Individual #1, “Jon” claimed to support
terrorist groups such as the Taliban, claimed to have donated money to
HAMAS, and stated that if he were to conduct an attack, it would be at an
   Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 8 of 28 PageID: 8




Al-Quds Day’ parade, where he would gun down pro-Israel supporters.
Individual #1 provided Jon’s Instagrarn usemame/proffle (the “Instagram
Account”). Individual #1 subsequently advised that Jon’s name was Jonathan
Xie (“Defendant Xie”), and that Individual #1 believed Defendant Xie lived in
New Jersey and worked at a US chain retail store.

       4.    The investigation revealed that the Instagram Account was an
active account for a user identified as “Jon” with Chinese and Arabic text
appearing next to Jon’s name. The investigation also has revealed additional
social media accounts for the same user, including a YouThbe account. The
YouTube account contained, among other things, a playlist containing
approximately 114 videos, many of which advocated and/or propagandized
soldiers for Allah, the war in Syria, Hezbollah (a foreign terrorist organization),
and the Houthi movement in Yemen, as well as support for Bashar al Assad,
Saddam Hussein, and North Korea, among others.

      5.     According to records obtained from Facebook, Inc., which
maintains the records of Instagram (hereinafter “Instagram records”), the
Instagram Account was associated with a registered email address
j******gmaji.corn, and it was frequently logged into from certain Internet
                                                         a
Protocol (“IP”) address.

      6.    The I? address was subscribed to by Defendant )Ce’s mother, who
resided with Defendant Xie in Basking Ridge, New Jersey.

      7.     On or about April 13, 2019, Individual #1 advised the FBI that on
or about April 12, 2019, Individual #2 participated in an Instagram Live video
session with Defendant Xie. Individual #2 recorded a portion of the session
and posted the video to Individual #2’s Instagram account where the followers
of Individual #2 could view it. Individual #1 viewed Individual #2’s Instagram
account and viewed the recorded session. Individual #1 recorded the video
playing on Individual #2’s Instagram account, and then provided the FBI with a
copy of Individual #1’s recording.

       8.   The video revealed a male identified by Individual #1 as Defendant
Xie, wearing a black ski mask covering all of his face except his eyes. In the
video, Defendant )Ue stated, among other things, that he was against “Zionism”
and the “neo-liberal establishment.” Defendant Xie stated he “has some stuff
planned but [he] can’t really tell on this stream.” When asked if he would go to
Gaza and join HAMAS, Defendant Xie said “yes, if I could find a way.” Later,
Defendant Xie displayed a HAMAS flag and also retrieved a handgun from a
box in what appeared to be a closet.

‘Al-Quds Day is an annual pro-Palestinian day of protest held around the time of the
final Friday of Ramadan.
  Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 9 of 28 PageID: 9




       9.    Visible on the box from which the gun was retrieved        the
                                                                      were


letters H and K, which the FBI assessed pertained to Heckler and Koch, a
firearm manufacturer. During the video, Defendant Xie also stated “I’m gonna
go to the [expletive] pro-Israel march and I’m going to shoot everybody.”

      10.    During the course of the investigation, the FBI reviewed firearms
registration records maintained by the State of New Jersey, and learned that a
handgun was registered to Defendant Xie’s mother, and that two handguns
(one of which was a Heckler and Koch 9 millimeter pistol), were registered to
Defendant Xie’s father. The FBI assessed that the firearm accessed by
Defendant Xie in the Instagram Live session referenced above likely was the
Heckler and Koch 9 millimeter pistol registered to Defendant Xie’s father.

      11.    According to records obtained from Moneygram, on December 20,
2018, a transaction of $100 was sent from Defendant Xie in Basking Ridge, NJ,
to an individual in Gaza, Palestine. The sender’s email address was identified
asj******gmail.corn, and the recipient in Gaza was Individual #3. This
transaction likely related to Defendant Xie’s statements in or about January
2019 to Individual #1 and to others that he had previously donated to HAMAS.
As discussed below, according to Instagram records, on or about April 14,
2019, Defendant Xie sent Individual #42 a link to alqassam.net, and described
the website as a HAMAS site. The website appears to be operated by the al
Qassam Brigades. While discussing HAMAS and the al-Qassam website with
Individual #4, Defendant Xie stated that he (Xie) had previously donated
money. Defendant Xie also instructed Individual #4 as to how he/she could
make a financial donation, by clicking on a button on the al-Qassaw website.
According to Instagram records, Defendant Xie had previously posted the
following on or about December 22, 2018:




 Individual #4 is an FBI employee acting online in an undercover capacity.
 Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 10 of 28 PageID: 10




      12.    According to information received from Google, Inc., Defendant Xie
engaged in email communications in November 2018 and December 2018, in
which he expressed an interest in joining the al-Qassam Brigades and an
interest in sending money to the group. As shown below, Defendant Xie
contacted two different email accounts that are listed as contact emthls on the
M-Qassam website. Defendant Xie received a response with instructions to
send a donation to a named individual in Gaza, Palestine (Individual #3).
According to the Google records, j******gmai1.com was subscribed to by “Jon
X” with the same telephone number associated with Defendant Xie, and with
the same IP address as the Xie residence. According to additional information
provided by Google, Inc. the following e-mail exchanges occurred:

                              November 16, 2018

      Subject: Joining the Al-Qassam Brigades
      From: Jon X <j******gmajl.com>
      Date: 11/16/2018, 12:34PM
      To:   “englishalqassam.**” <englishalqassarn.**>

      As-salamu alykum [Peace be unto you]. My name is Jonathan and I
      reverted to Islam a few weeks ago. I was wondering if non-
      Palestinians/non-Arabs would be allowed to join the Al-Qassam
      Brigades, and if so, what are the qualifications and how do you start the
Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 11 of 28 PageID: 11




    process ofjoining? Thanks for taking your time to read, I hope you can
    help me out!

                            December 16, 2018

    Subject: How to make a donation
    From: Jon X <j******gmail.com>
    Date; 12/16/2018, 9:42 PM
    To: fundalqassam. **

    Salam alaikum [Peace be unto you]! I saw at the bottom of your website
    that you can make a donation to the Al-Qassam Brigades by contacting
    this email address. As a Muslim living in the US, I would like to support
    the Palestinian resistance as much as possible. Thanks for taking your
    time to read and hopefully there’s a way I can donate!

                            December 17, 2018

    On Mon, Dec 17, 2018 at 3:31 PM alqassam fund <fundalqassarn.**>
    wrote:

    Waalikum As-Salam [And unto you peace] our dear brother,
    We hope that you are doing well Insha’Allah [Allah willing], and thanks
    for your support to Palestinian resistance.
    Regarding the donations; would you tell us the amount you intend to
    send so that we can send you the proper way to send it.
    May Allah Bless You

    Subject: Re: How to make a donation
    From: Jon X <j******gml.com>
    Date: 12/17/2018, 7:10 PM
    To: alqassam fund <fundalqassam.**>

    I plan on donating $100 (USD), if there are any fees necessary to send
    the money, I do not mind paying for those as well.
    May Allah Bless You as well. Ameen

                            December 18. 2018

    Subject; Re; How to make a donation
    From: alqassam fund <fundalqassam.**>
    Date: 12/18/2018, 5:07PM
    To: Jon X <j******gmajl.corn>
    Delivered-To: j******gmail.com
Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 12 of 28 PageID: 12




    Dear brother

    You can send the money through one of the following programs: express
    money money gram western union
             -            -




    To: [Individual #3]
    Gaza Palestine
         -




    It would be very kind of you to tell us if the money is sent (photo copy of
    the receipt) Thanks

                              December 20, 2018

    Subject: Re: How to make a donation
    From: Jon X <j******grnajl.com>
    Date: 12/20/2018, 3:47 PM
    To: alqassam fund <fundalqssarn.**>

    Hello Brother,
    I am using Money Gram from my computer to send you the funds.
    Attached is an image of the reciever [sic] information, I just want to make
    sure the info I typed in is correct before I send it. In the ‘Receiver
    country’ box, I cannot find a selection specifically for Gaza, only
    ‘Palestinian Territory, Occupied’, does this still work?
Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 13 of 28 PageID: 13




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    9øne,Gmm.




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                                                                                 Paiasi,n,an Te,rtto. Occupied                                                            0




               How will the money be received?                              Cash Pickup

                                                                            Your receiver has ib. following Cash Pickup options:
                                                                            A:              ,,Icvl



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                                                                                 •
                                                                                      ‘yr..-’,”
                                                                            r.v,,’n. illW,ak                    te a   FAQ




                                  (Back                                                                                                            Next    >
                                                                                                                                                                                       .


      I:
           -         -




   Subject: Re: How to make a donation
   From: alqassam fund <funda1qassam.
   Date: 12/20/2018, 4:19 PM
   To: Jon X <j******grnai1.corn>
   Delivered-To: j******grnail. com

   Hi Bro,
   Yes that’s right.
   You can choose Palestinian Territory, Occupied                                                                             ..   it’s ok


   Subject: Re: How to make a donation
   From: Jon X <j******gmail.corn>
   Sent: Thursday, December 20, 2018 10:2 1 PM
   To: alqassam fund
Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 14 of 28 PageID: 14



   Okay, the transaction went through. In the 2nd picture, the Reference
   Number is 37337500 when you go to recieve [sic] the cash pickup. I hope
   everything works out fine inshaflah [Allah willing]. Let me know if you
   were able to recieve [sic] it, brother.

                    I
        -
                                                                                                               I

   I    S MoneyGrom.




                                       (                   Tell us how were doing!          -        -




                                                           Your transaction details:
                                       fl&ttrnce                                                  31137500

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Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 15 of 28 PageID: 15




            I
                                                                                                    I
                  ReceIver Infonnation
                                                                                                4
                  Name:                         Individual 113
                                                                                           —.



                  Expected Destinalloir        Palestine

                  Receive Option:              Cash Pickup


                  Reference Number             37337500 (Used by MoneyGram for tracking)


                  Date Available in Expected   2o:Dec_18 (May be available sooner)
                  Destination:


                  Tran sfer Amount             10000 USD

                  Transfer Fees                +   12.00 USD

                  Transfer Taxes:              0.00 USD

                  Total Cost:                  112.00 USD




                                    December 22, 2018

   Subject: Re: How to make a donation
   From: alqassam fund <funda1qassarn.**>
   Date: 12/22/2018, 4:04 PM
   To: Jon X <j******grnajl.corn>

   Dear brother,
   We write to tell you that we received your donation
   May Allah bless with his bounty of barakah [blessings] for yourself and
   your family
    Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 16 of 28 PageID: 16




                               December 24, 2018

       Subject: Re: How to make a donation
       From: Jon X <j******grni.corn>
       Date: 12/24/2018, 5:20 PM
       To: alqassam fund <fundaiqassarn.**>

       Thank you brother, may Allah bless you and your family as well. I pray
       that one day the Palestinian resistance will be able to overthrow the
       apartheid Israeli regime. Inshallah.3




                          —
                                                    —   .a




3Defendant Xie attached an image to this email communication. Based on my training
and experience, I recognize this image to be a photograph of the HAMAS flag.
 Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 17 of 28 PageID: 17




                               December 25, 2018

     Subject: Re: How to make a donation
     Prom: aiqassam fund <fundaiqassam.**>
     Date: 12/25/2018, 5:38 AM
     To: Jon X <j******grnaii.com>

     Inshallah

      13.  Defendant Xie has made additional statements about his support
of HAMAS. According to Instagram records, on or about the dates set forth
below, Defendant Xie posted the following to the Instagram Account:

                                January 18, 2019

      Xie:   I support the Hamas faction of the MB [Muslim Brotherhood].

                                January 23, 2019

      Xie: I’m going to donate more money to Hamas once I get my paycheck.

                                February 18, 2019

      Xie:   I’m joining the Army.
             I [sic] said I could get arrested
                                             .   . If they found out about the
                                                     .


             Hamas shit...
             I’m joining the US Army not to fight foe Jewish internets [believed
             to be a typo of “interests”]
             But to learn how to kill
             So I can use that knowledge
             I already got accepted
             Israel does that so they can kill innocent women and children
             Idk [I don’t know] if I pass the training
             If I should do lone wolf
             That is why I have to learn military techniques from the Army
             To stop these people

When asked if he would get arrested, Defendant Xie responded: “I don’t
give a shit. I am political soldier. I am not afraid to die. So that I can carry out
something in the future.”

       14.    On or about February 14, 2019, Defendant Xie executed a Security
Clearance Application for National Security Positions in connection with his
interest in joining the United States Army. On the application, among other
things, Defendant Xie listed his telephone number and j******grnail.com as
his home e-mail address.
 Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 18 of 28 PageID: 18




       15.   On or about February 19, 2019, Defendant Xie’s original
application was rejected by the United States Army systems for an unknown
error, requiring Defendant Xie to report to his recruiting station for an update
to the application, which Defendant Xie then signed on or about February 27,
2019.

       16. The applications of February 19, 2019 and February 27, 2019 (the
“Applications”) set forth the penalties for inaccurate or false statements as
follows:

      [T]he U.S. Criminal Code (title 18, section 1001) provides that knowingly
      falsifying or concealing a material fact is a felony which may result in fines
      and/or up to five (5) years imprisonment.

       17.    Defendant Xie answered “Yes” to the Statement of Understanding
set forth in both Applications as follows:

      I have read the instructions and I understand that if I withhold,
      misrepresent, or falsify information on this form, I am subject to the
      penalties for inaccurate or false statement (per U.S. Criminal Code, Title
      18, section 1001), denial or revocation of a security clearance, and/or
      removal and debarment from Federal Service.

       18.   In Section 29 of both Applications, Defendant Xie answered
“No” to the following pertinent question: “[Hjave you EVER associated with
anyone involved in activities to further terrorism?” (emphasis in original).

       19.  On or about March 1, 2019, Defendant Xie additionally made the
following post on Instagram:

          How can you fight against your oppressors without using
      violence?       .




      There’s .   nothing wrong about being violent if you use it for the right
                  .       .


      reasons. How come when the enemies such as the US or Israel accuse
      Islam as being violent, you guys try to water it down? I do not want to
      compromise with these people. If they say Im a terrorist, then I am proud
      to become a terrorist.

      20. According to Instagram records, on or about April 14, 2019,
Defendant Xie provided instruction to Individual #4 as to how he/she could
make a financial donation to HAMAS by providing a link to the al-Qassam
website, and on or about April 17, 2019, Defendant Xie specifically indicated
that the donation page could be accessed by clicking the left button of the
website.
    Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 19 of 28 PageID: 19




                                      April 14, 2019

        Individual #4: Does Hamas have good media? I never see much by them.

        The:   I think it’s pretty decent.

                                                ***




        The:   actually let me send you the link to al-qassam’s website

        Individual #4: Where can I find them?
                       Okay, is it safe?

        Xie:   Yeah I’m pretty sure its safe

        Xie:   I’ve used it a bunch of times and nothing bad has happened so far

        The:   https://alqassam.net4

        The:   They changed the layout of the website a bit

        The:   If you click the left button, it brings you to their donation page
               where you can donate via bitcoin

        Xie:   and the right button is for their main website

        Individual #4: Is it actually Hamas site?
                        Like run by them?

        The:   I’m like 95%-i- sure

        Individual #4: I wonder if donations actually go to the mujahideen5 or
                        like the political stuff

        The:   They also have another website, but that’s for the political stuff



 As noted above, the armed or military wing of HAMAS is referred to as the Izz al-Din
al-Qassam Brigades and has conducted anti-Israel attacks, including suicide
bombings against civilian targets inside Israel. United States citizens have died and
been injured in the group’s attacks. The FBI assesses The is referring to this
armed/military wing of HAMAS.
S Guerilla fighters in Islamic countries, especially those fighting against non-Muslim
forces.
Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 20 of 28 PageID: 20




    Individual #4: Not that I have a lot of money to give

    Xie:   http://hamas.ps/en/

    Xie:   This is the political page

    Xie:   I donated a $100 but that was a while ago lol

    Individual #4: Yeah I knew there was a difference

    Individual #4: Like from Bitcoin?

    Individual #4: 10K how Bitcoin works tbh

    Xie: Oh it was through those money transfer things like moneygram

    Xie: yeah idk how that shit works its too confusing lol

    Individual #4: We have a moneygram station at my work

    Individual #4:   @   [retail store]

    Xie: Oh nice we also had one in [a different retail store] as well

    Xie: Though I didn’t go to the actual store to send the money

    Individual #4: Lol plz say you didn’t donate at your work?

    Xie: because I didn’t know if that would’ve looked suspicious

    Xie: hey just curious why are you sending money to gaza?

    Xie: no haha

    Xie: I donated online

    Xie: but it was still the same money transfer system

    Xie: just that I didn’t have to deal with a real person

    )Ce: just typed in the info of where to send it and that’s it

    Individual #4: Oh like moneygram’s website? Lol

    Xie: yeah
Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 21 of 28 PageID: 21




    Xie: actually wait it wasnt money gram but it worked as the same thing

    Xie: because it was weird using moneygram

    Xie: because I think it would only allow me to send to the west bank for
         some reason

    Individual #4: See idk if I could do it. Like I’d worried if the money
                   actually made it to the mujahideen

    Xie: so i had to use a different one

    Xie: Yeah that’s true

    Xie: If it didn’t then I guess that’s a big oof for me

    Individual #4: I feel like things are so crazy over there and so many are
                   corrupt that people would steal the money

    Xie: Yeah there are crazy people out there

    Xie: I mean the website looks pretty professionally made (it looks better
         on the computer)

    Individual #4: Well I’m sure you will get rewarded in the akhirah
                   [afterlife] for that.
                   You are a good person. I’m sure they need everything they
                   can get

    Xie: Thanks

    Xie: They also post a lot of new videos

    Individual #4: I will have to start looking

    Xie: and its hard to find those vids anywhere else, especially on youtube

    Individual #4: Yeah they get taken down really quick

    Xie: It sucks. Stupid youtube.

    21.   On or about April 18, 2019, according to Instagram records,

    Defendant Xie further instructed Individual #4 on how to make

    donations to HAMAS via the Al-Qassam Brigades website. Defendant Xie
Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 22 of 28 PageID: 22




    noted that the website now allows donations through Sitcom, and he

    (Xie) stated that he would send $20 via the website as a test transaction.

    According to Instagram records, the following conversation with

    Individual #4 occurred:

                                   April 18, 2019


           on the hamas website theres like a qr code or something like that
           that shows where to donate to

    Individual #4: It’s arrra3bbiicc [sic]



    Xie:   oh okay i think i know how it works



           Oh! I found out how to translate the donation page to english.. .ok
           ill send you pics...




                                p
Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 23 of 28 PageID: 23




    Individual #4: Wth I thought u did this before



    Xie:   Yah I donated before but that was before they announced their
           bitcoin method...
 Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 24 of 28 PageID: 24




                          now it should be in
                               english




[“Ezzedeen AlQassam Brigades”    .      “The Israeli occupation is fighting the
resistance by trying hard to block any support for it, but the resistances
friends around the world are fighting back against such Israeli attempts and
seeking all possible ways to support the resistance. Your generous donation, no
matter how little it is, reflects your stand by Palestinian people.”j
Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 25 of 28 PageID: 25




                                                      U
                                         then you have to
                                          scroll down and r II UNME
                             ItIt It
                                       type the letters you
                                         see in the box in     fly


                                          the typing area




                              -




                                       s               /
                         Tb.
                         In,
                                   then this should be            bItt
                                                                    We
                         fl1b
                         Ill        the code used for             WI,.


                                                                  I by
                                   sending money via
                             W.                                   —I
                                      bitcoin wallet



                         I         ‘We It I
                                                I——n-—


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                                              dbb — II._.—l
                                                              =
    Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 26 of 28 PageID: 26




        Individual #4: Well thanks for sending those. I’ll have to look when I get
                       my laptop out
                       Still seems super complicated lol

        Xie:   No problem! If you still need help I’ll try to assist even though I
               don’t know much either lol
               I’m going to make another donation when I get my tax return
               money
               So I’ll tell you how it goes



        Individual #4: To Hamas again?
                                           ***




        Xie:   Yah... actually shit im just going to donate $20 really quick to see
               if it works

        Individual #4; Big spender

        Xie:   ive been using my savings account even though my parents would
               slaughter me if i found out



        Individual #4: Is Bitcoin anonymous?

        Xie:   yah... i think thats why hamas is using it now
               because money transfer is not that anonymous

       22.   According Instagram records, Defendant Xie further instructed
that Individual #4 could donate via Bitcoin, and stated that he had previously
donated $100. On or about April 26, 2019, according to Instagram records,
Defendant Xie informed Individual #4 that HAMAS may use his money for food
for the soldiers or for ammunition. On or about April 26, 2019, Defendant Xie
sent 0.0033254 1 BTC ($17.00 USD) using Coinbase, a cryptocurrency
platform, to a HAMAS-controlled Coinbase wallet to support the Palestinian
resistance.6

      23.   On or about April 20, 2019, FBI surveillance observed Defendant
Xie and an individual believed to be his brother outside of the Trump Tower
building located at 725 5th Avenue in New York City.

6As a test transaction, Defendant Xie sent approximately $20, but a transaction fee of
approximately $3 resulted in a total donation amount of approximately $17.
    Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 27 of 28 PageID: 27




      24.    Shortly thereafter, according to Instagram records, Defendant Xie
posted two photos to his Instagram account one with the words “I want to
                                                  —




bomb Trump Tower” imposed over the Trump Tower building image, and the
other with the words “[S]hould I bomb Trump Tower,” a “Yes/No” poll, and an
emoji of a bomb imposed over the Trump Tower building image.

      25.    In response to the posting of this photograph and poil, an
individual in Defendant Xie’s Instagram chat group questioned whether
Defendant Xie was on the FBI watch list, and another individual stated
“[Defendant Xie’s Instagram name]’s doing his typical terrorist bs again.”

         26.    Defendant Xie responded to the comments with the following
posts:

         Donald Trump, he should be hung from the gallows!         ...Okay so I went to
         NYC today and passed by Trump Tower, then I started thinking about
         bombing it and I was imagining that the explosion would kill Trump and
         then I started laughing hysterically... shit I forgot to visit the israeli
         embassy in NYC.. .i want to bomb this place along with trump tower.

      27.   Defendant Xie further made the following additional
posts on Instagram:

                                     April 23, 2019

         )Ue:   I want to shoot the pro-israel demonstrators
                Maybe I should rent the truck of peace



                You dont jsicl need to learn martial arts to fight
                when you can get a gun
                and shoot your way through
                or use a vehicle
                and ram people

                                     April 25, 2019

         Xie:   Because in the end they will know that I was right all along
                Even if that means I have to kill people to prove it.
                All you need is a gun or vehicle to go on a rampage
                I plan on killing people after my first task7

7Based on my training and experience, I believe that the “first task” likely refers to
Defendant Xie’s enlistment and training in the United States Army.
Case 2:19-mj-03676-MF Document 1 Filed 05/21/19 Page 28 of 28 PageID: 28




           I do not care if the security forces come after me, they will have to
           put a bullet in my head to stop me

                                April 26, 2019

    )Ce:   Someone needs to get a truck filled with explosives and blow up
           the Coachella event
           Watch their blood and dead bodies litter the streets
